                                                                   Case 1:16-bk-12255-GM             Doc 650 Filed 01/08/19 Entered 01/08/19 16:08:42                          Desc
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                                                                   1       Jeremy V. Richards (CA Bar No. 102300)
                                                                           John W. Lucas (CA Bar No. 271038)
                                                                   2       PACHULSKI STANG ZIEHL & JONES LLP
                                                                           10100 Santa Monica Blvd., 13th Floor
                                                                   3       Los Angeles, CA 90067
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                                                                           E-mail: jrichards@pszjlaw.com
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                                                                   6       Attorneys for David K. Gottlieb, Chapter 11 Trustee of the
                                                                           Estates of Solyman Yashouafar and Massoud Aaron Yashouafar
                                                                   7
                                                                                                      UNITED STATES BANKRUPTCY COURT
                                                                   8                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                   9                                    SAN FERNANDO VALLEY DIVISION

                                                                  10       In re:                                                  Case No.: 1:16-bk-12255-GM
                                                                  11       SOLYMAN YASHOUAFAR and MASSOUD                          Chapter 11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                           AARON YASHOUAFAR,1
                                                                  12                                                               Jointly Administered
                                                                                                           Debtors.
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                           In re:                                                  Case No.: 1:16-bk-12255-GM
                                                                  14
                                                                           SOLYMAN YASHOUAFAR,                                     Chapter 11
                                                                  15
                                                                                                           Debtor.                 Case No.: 1:16-bk-12408-GM
                                                                  16
                                                                           In re:                                                  Chapter 11
                                                                  17
                                                                           MASSOUD AARON YASHOUAFAR,                               NOTICE OF HEARING ON
                                                                  18                                                               APPLICATIONS OF PROFESSIONALS FOR
                                                                                                           Debtor.                 COMPENSATION AND REIMBURSEMENT
                                                                  19                                                               OF EXPENSES
                                                                           Affects:
                                                                  20
                                                                            Both Debtors                                          Date: January 29, 2019
                                                                  21        Solyman Yashouafar                                    Time: 10:00 a.m.
                                                                            Massoud Aaron Yashouafar                              Place: Courtroom 303
                                                                  22                                                                      U.S. Bankruptcy Court
                                                                                                           Debtors.                       21041 Burbank Blvd.
                                                                  23                                                                      Woodland Hills, CA 91367
                                                                  24

                                                                  25   TO THE HONORABLE GERALDINE MUND, UNITED STATES BANKRUPTCY JUDGE,
                                                                  26   THE CHAPTER 11 TRUSTEE, THE DEBTORS AND THEIR COUNSEL, THE OFFICIAL
                                                                  27
                                                                       1
                                                                        The Debtors, together with the last four digits of each Debtor’s social security number are: Solyman Yashouafar
                                                                  28   (5875) and Massoud Aron Yashouafar (6590).


                                                                       DOCS_LA:318601.1 32274/001
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                                                                   1   COMMITTEE OF UNSECURED CREDITORS, THE OFFICE OF THE UNITED STATES

                                                                   2   TRUSTEE, AND ALL PARTIES REQUESTING SPECIAL NOTICE:

                                                                   3           PLEASE TAKE NOTICE that a hearing will be held on January 29, 2919 at 10:00 a.m. in

                                                                   4   Courtroom 303, 21041 Burbank Blvd., Woodland Hills, California before the Honorable Geraldine

                                                                   5   Mund for the Court to consider and act upon the applications (the “Applications”) of professionals

                                                                   6   employed in or in connection with the above-captioned cases (the “Professionals”) for approval of

                                                                   7   compensation and reimbursement of expenses.

                                                                   8           PLEASE TAKE FURTHER NOTICE that copies of the Applications filed by the

                                                                   9   Professionals identified below are on file with the Clerk of the United States Bankruptcy Court,

                                                                  10   21041 Burbank Blvd., Woodland Hills, California 91367 and available for inspection during the

                                                                  11   Court’s normal business hours and may also be obtained by a party in interest upon specific request
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   to Beth Dassa, Paralegal, Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica Blvd., 13th Floor,
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Los Angeles, California 90067, Telephone: 310/277-6910, Facsimile: 310/201-0760, email:
                                           ATTORNEYS AT LAW




                                                                  14   bdassa@pszjlaw.com.

                                                                  15           The compensation requested by Professionals in the Applications is as follows:

                                                                  16           (1)      Pachulski Stang Ziehl & Jones LLP (“PSZJ”)

                                                                  17           PSZJ, general bankruptcy counsel to David K. Gottlieb, Chapter 11 Trustee (the “Chapter 11

                                                                  18   Trustee”) for the estates of Massoud Aaron Yashouafar and Solyman Yashouafar (the “Debtors”), is

                                                                  19   seeking approval of interim compensation for the period of September 16, 2016 through November

                                                                  20   30, 2018 in the amount of $1,483,351.99, consisting of $1,404,583.50 in fees incurred and

                                                                  21   $78,768.49 in expenses advanced.

                                                                  22           (2)      Development Specialists, Inc. (“DSI”)

                                                                  23           DSI, accountants and financial advisors to the Chapter 11 Trustee, is seeking approval of

                                                                  24   final compensation for the period of March 1, 2018 through December 31, 2018 in the amount of

                                                                  25   $20,120.00. No expenses were advanced.

                                                                  26           (3)      Berkeley Research Group (“BRG”)

                                                                  27           BRG, accountants and financial advisors to the Chapter 11 Trustee, is seeking approval of

                                                                  28   interim compensation for the period of September 21, 2016 through November 30, 2018 in the

                                                                                                                         2
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                                                                   1   amount of $133,169.25, consisting of $123,312.00 in fees incurred and $9,857.25 in expenses

                                                                   2   advanced.

                                                                   3           (4)      David K. Gottlieb, Chapter 11 Trustee

                                                                   4           The Chapter 11 Trustee is seeking approval of interim compensation for the period of

                                                                   5   September 16, 2016 through December 22, 2018 in the amount of $73,015.40, consisting of

                                                                   6   $72,627.42 in fees incurred and $387.98 in expenses advanced.

                                                                   7           PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-1(f),

                                                                   8   any response or opposition must be in writing and filed with the Court and served upon the

                                                                   9   appropriate Professional (see addresses below) and the undersigned counsel to the Chapter 11

                                                                  10   Trustee no later than fourteen (14) days prior to the hearing date. Pursuant to Local Bankruptcy

                                                                  11   Rule 9013-1(h), the failure to timely file any response or opposition may be deemed by the Court to
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   be consent to the approval of the Applications.
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       ADDRESSES FOR ALL PROFESSIONALS
                                                                  14

                                                                  15   General Bankruptcy Counsel to the Chapter 11 Trustee
                                                                       Jeremy V. Richards, Esq.
                                                                  16   Pachulski Stang Ziehl & Jones LLP
                                                                       10100 Santa Monica Blvd., 13th Floor
                                                                  17   Los Angeles, CA 90067
                                                                  18   Accountants and Financial Advisors to the Chapter 11 Trustee
                                                                  19   Thomas Jeremiassen
                                                                       Development Specialists, Inc.
                                                                  20   333 South Grand Avenue, Suite 4100
                                                                       Los Angeles, CA 90071
                                                                  21
                                                                       Accountants and Financial Advisors to the Chapter 11 Trustee
                                                                  22
                                                                       Vernon L. Calder, CPA
                                                                  23   Berkeley Research Group
                                                                       2029 Century Park East, Suite 1250
                                                                  24   Los Angeles, CA 90067

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                                                                   1   Chapter 11 Trustee
                                                                       David K. Gottlieb
                                                                   2   17000 Ventura Blvd., Suite 300
                                                                   3   Encino, CA 91316

                                                                   4
                                                                       Dated: January 8, 2019                      PACHULSKI STANG ZIEHL & JONES LLP
                                                                   5
                                                                                                                   By:       /s/ Jeremy V. Richards
                                                                   6                                                         Jeremy V. Richards
                                                                                                                             John W. Lucas
                                                                   7
                                                                                                                             Attorneys for David K. Gottlieb, Chapter 11
                                                                   8                                                         Trustee
                                                                   9

                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




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                                           ATTORNEYS AT LAW




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                                               PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): NOTICE OF HEARING ON APPLICATIONS OF
PROFESSIONALS FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES will be served or was served (a)
on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 8, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                        Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) January 8, 2019, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Office of the United States Trustee                                Accountants and Financial Advisors to the Chapter 11 Trustee
915 Wilshire Blvd, Suite 1850                                      Vernon L. Calder, CPA
Los Angeles, CA 90017                                              Berkeley Research Group
                                                                   2029 Century Park East, Suite 1250
                                                                   Los Angeles, CA 90067

                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) January 8, 2019, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA PERSONAL DELIVERY
The Honorable Geraldine Mund
United States Bankruptcy Court
21041 Burbank Blvd., Suite 312, Courtroom 303,
Woodland Hills, CA 91367


                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 January 8, 2019                MYRA KULICK                                                      /s/ Myra Kulick
 Date                           Printed Name                                                     Signature




This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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                                                    Main Document     Page 6 of 6
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

         Timothy C Aires tca@arlawyers.com, mdkhan@arlawyers.com
         Bret D. Allen ca.ecf@bretallen.com, bankruptcy@theallenlawfirm.com
         Simon Aron saron@wrslawyers.com
         Larry G Ball lball@hallestill.com, gjohnson@hallestill.com
         William H Brownstein Brownsteinlaw.bill@gmail.com
         Carol Chow carol.chow@ffslaw.com, easter.santamaria@ffslaw.com
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         Brian L Davidoff bdavidoff@greenbergglusker.com,
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         Fahim Farivar ffarivar@foley.com, amcdow@foley.com;scvasquez@foley.com;scvasquez@foley.com
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         Mark E Goodfriend markgoodfriend@yahoo.com, monica.yoohanna@gmail.com
         David Keith Gottlieb (TR) dkgtrustee@dkgallc.com,
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         Andrew V Jablon ajablon@rpblaw.com, mlynch@rpblaw.com
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         Robert B Kaplan rbk@jmbm.com
         Andrew F Kim akim@afklaw.com, 6229175420@filings.docketbird.com
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          kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
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         S Margaux Ross margaux.ross@usdoj.gov
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         Nico N Tabibi nico@tabibilaw.com
         United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
         Maurice Wainer mrwainer@aol.com, daniel@swmfirm.com;mrwainer@swmfirm.com
         Howard J Weg hweg@robinskaplan.com
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         Gilbert R Yabes ecfcacb@aldridgepite.com, GRY@ecf.inforuptcy.com;gyabes@aldridgepite.com
         Aaron E de Leest aed@dgdk.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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